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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

LESLIE BARTOLOMEI                                                                PLAINTIFF

v.                                NO. 4:20-CV-00271-BRW

NATIONAL REPUBLICAN
CONGRESSIONAL COMMITTEE, ET AL.                                               DEFENDANTS

                                NOTICE OF APPEARANCE

         John E. Tull III of Quattlebaum, Grooms & Tull PLLC enters an appearance on behalf of

Defendant Winred Technical Services, LLC and certifies that he is admitted to practice in this

Court.

                                            John E. Tull III (84150)
                                            QUATTLEBAUM, GROOMS & TULL PLLC
                                            111 Center Street, Suite 1900
                                            Little Rock, AR 72201
                                            Telephone: (501) 379-1700
                                            Facsimile: (501) 379-1701
                                            jtull@qgtlaw.com

                                            Attorneys for National Republican Congressional
                                            Committee and Winred Technical Services, LLC
